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AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                    UNITED STATES DISTRICT COURT                                                     .     '

                                         SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                               v.                                   (For Offenses Committed On or After Nove~ber 1, 1987)
           CORTES TIZZARO PRATER JR. (15)
                                                                       Case Number:         14CR3537-BAS
                                                                                                                           -rh
                                                                    JAMI FERRARA
                                                                    Defendant's Attorney
REGISTRATION NO.                   48882298
 o­
 ~    pleaded guilty to count(s)      ONE (1) OF THE INDIC1MENT

 o was found guilty on count(s)
     after a plea ofnot guilty.                              .                          . .
 Accordingly, the defendantis adjudged guilty of such count(s), Which involve the following offense(s):
                                                                                                                     Count
 Title & Section                    NatureofOffeos,e ......... >, ..... . ... .........•.•.'. ..'                   Numberlsl
 18 USC 1962(d)                     CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS                      .                    1
                                    THROUQH A PATTERN OF. RACKETEERlN9 ACnyITY




     The defendant is sentenced as provided in pages 2 through                 4           ofthis judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 o Count(s)                                                    is          dismissed on the motion of the United States.

 ~     Assessment: $100.00




 ~    No fine              .. 0 Forfeiture pursuanttoorder filed..                     .                       ' included herein.
        IT IS ORDERED that thedefenda,nt shall notify the UnitedStates Attgrney for this district within 30 days of any
 change of name, residence, or mailiJig· address until allfmes, restitution, costS,. and special assessmentS imposed by this
 judgment are fully paid. If ordered topayrestitution,the defendant shall notify the court and United States Attorney of
 any material change in the defendanl'seconomiqcircwnstapces..


                                                                     NOYEMBER 23~ 2015
                                                                     Dam Of~ffiO.n Of~


                                                                    " HON._B S        T
                                                                      UNITED STA           rus
                                                                                 DISTRICT JUDGE



                                                                                                                    14CR3537-BAS
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 SIXTY (60) MONTHS.




 o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ~      The court makes the following recommendations to the Bureau of Prisons:
        THE COURT RECOMMENDS THE DEFENDANT BE PLACED IN THE BOP RESIDENTIAL DRUG
        AND ALCOHOL PROGRAM (RDAP) AND DESIGNATED AS CLOSE TO SAN DIEGO,
        CALIFORNWWESTERN REGION AS POSSIBLE. THE COURT ALSO RECOMMENDS THE
        DEFENDANT BE PLACED IN ANY AVAlLABLE EDUCATIONALNOCATIONAL PROGRAMS.

  o     The defendant is remanded to the custody of the United States Marshal.

  o     The defendant shall surrender to the United States Marshal for this district:
        o     at
                   ---------------- A.M.                      on ~__~----------~------_________
        o     as notified by the United States Marshal:·

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
  o     Prisons:
         o    on or before
         o    as notified by the United States Marshal.
         o    as notified by the Probation or Pretrilll Services Office.

                                                        RETURN
  I have executed this judgment as follows:

         Defendant delivered on                                            to .
                                  --~----------~~~--~                              ~----~-------------------

  at
       --------------------- , with a certified copy ofthisjudgDleht.
                                                                  UNITED
                                                                    . -, . STATES MARSHAL
                                                                           -   -   .   ,




                                      By                    DEPUTY UNITED STATES MARSHAL


                                                                                                          14CR3537-BAS
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o      substance abuse. (Check, if applicable.)             .
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of It DNAsamplefrom the defendant, .pursuant to section 3 ofthe DNA Analysis
       Backlog Elimination Act 0(2000, pursuant to 18 USCsection'3583(a)(7) and 3583(d).·
       The defendant shall complywith therequirementsofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o      seq.) as directed by the probation officer, the Bureau of Prisons, or any.state sex pffender registration agency in which he or she
       resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic .violence. (Check if applicable.)

          If this judgment imposes it. fine or arestitutlon obligation, it shall be. a condition of supeivised release that the defendant pay any
     such fine or restitution that remains unpaid at the commenceinen~ ofthe term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.                                                .
          The defendant shallcomply.with the standard conditions that have tleen adopted by this court. The defendant shall also comply
      with any special conditions imposed. .         '. . . .' .           .' '. " .          ..
                          . ....       "STANDAlID CONDtrIoNS OF SUPERVISION
     I)   the defendant shall not leave the judicial district without the permission ofthe court or probation officer;
     2)   the defendant shall report to the probation officer in a.~er and :frequency directed by the oourt Or probationofficer;
     3)   the defendant shall answer truthfully all inquiries by the probation officer and follow theinstructlons of the probation officer;
     4)   the defendant shall support his or her dependents andmeet other family reSllonsibilities; ......         .•...                  .
     5)   the defendant shall work regularly at alawful occupation, lIDless excused by the probation officer for schooling, training, or other acceptable
         reasons;.         ......                             . ....      ........ .   ..' ....' '. . '. ' , '              .. '
     6)  the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
     7)  the defendant shall refurln from excessive useofalcol101 and shall potpurchase,possess,\lse, distribute, oradminister any controlled substance or
         any paraphernalia related to any controlled substances, eicephs prescribed by aphysi~ian;' .....'.                ."
     8) the defendant sha1l not :frequent places where controlled subsulnces are illegaily soid, used, distributed, or administered;
     9) the defendant shall not associate with   any persons engage.din criminal activity'andshallrtot associate; with any person convicted of a felony,
         unless granted permission to 40 so by the probation oflic~; .....         .                            ..  .                           .
     10) the defendant sha1l permit a probation officer to visit hilllor her at any ti~e at homeol elsewhere and shall permit confiscation of any contraband
         observed in plain view ofthe probation officer;        .' '.' ..... ...... . ' . .                  ... .
     11) the defendant shall notiiY the probation officer within seventY~two hourS of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any ~greementt()act as an informer ora special a~e.ntof a la", enforcement ~ency without the permission of
          the court; and                 ' . .' '" . ....               "      ,'.    . . ..... .... '.. •.• '"    .......       ....... ..
     13) as directed by the probation officer, the defendant shailpotiiY thfrd partiesof risks that may be .occasioned by the defendant's criminal record or
          personal history or characteristics and shall permit the probation officerto make such notifications and to confirm the defendant's compliance
          with such notification requirement.                                                                   .   .



                                                                                                                                     14CR3537-BAS
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                                SPECIAL CONDITIONS OF SUPERVISION

   1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
       and counseling, as directed by the probation officer. Allow for reciprocal release of information between
       the probation officer and the treatment provider. May be required to contribute to the costs of services
       rendered in an amount to be determined by the probation officer, based on ability to pay.

    2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

    3. Reside in a Residential Reentry Center, RRC, as directed by the probation officer for a period ofup to 120
       days (non-punitive).

    4. Resolve all outstanding warrants within 60 days ..

    5. Shall not knowingly associate. with anylcr:toW-Jl mel)lber, prospect, OJ: associate of the (Tycoons, Bloods,
       Add It Up), or any other gang, or club With a history of criminal activity, unless given permission by the
       probation officer.

    6. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials
       associated with a gang, unless. given permission by the probation officer.

    7. Shall not knowingly loiter, or be present in locations knowntob~ areas where gang members
       congregate, unless permission by the probation officer..

    8. Submit your person, property, re~idence, office,social media accounts, or vehicle to a search, conducted
       by a United States Probation Officer at a reasonable tirrieand in a reasonable manner, based upon
       reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit
       to a search maybe grounds for revocation; the. defendant shall warn any other residents that the premises
       may be subject to searches pursuant to·this·condition..

    9. Not use or possess devices which can communicate data via modem or dedicated connection and may
       not have access to the
                            .
                               InterIlet without priQfl;\pprovalfromthe
                                . '                       . -"         .-"
                                                                    '-.'
                                                                           courtor
                                                                               .
                                                                                   the probation officer. The
                                                                            "":'.'.-   -    ','.



       offender shall consent to the installation of systems that will enable. the probation officer to monitor
       computer use on any computer owned or controlled by the offender. The offender shall pay for the cost
       of installation of the computer software.
                                    .                    '.         '..                        . , '                     .
                                        .   "   ..   '        :.-          ,:'             . " " .



     1O. Provide complete disclosure of personal and business financial records to the probation officer as
         requested.

     11. Shall not knowingly associate with prostitutes or pimps and/or loiter in areas frequented by those engaged
         in prostitution and sex trafficking.
                                                                                                    14CR3537.,BAS
